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 4   Telephone: (916) 554-2724
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 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA                 )   CASE NO. Cr. S-12-051 MCE
                                              )
13                        Plaintiff,          )
                                              )   STIPULATION AND ORDER RE:
14   v.                                       )   SURRENDER OF DEFENDANT
                                              )   VALENTINA BEKNAZAROV’S
15   VALENTINA BEKNAZAROV, et al.,            )   PASSPORTS
                                              )
16                        Defendants.         )
                                              )
17
18
19
20
21          IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES, by and
22   through their undersigned counsel, that, as a condition of her
23   pretrial release, defendant VALENTINA BEKNAZAROV agrees to surrender
24   her passport to the Clerk of the District Court for the Eastern
25   District of California by March 5, 2012, and to refrain from applying
26   ////
27   ////
28   ////

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         Case 2:12-cr-00051-MCE-CKD Document 17 Filed 03/06/12 Page 2 of 2


 1   for any new passports or travel documents during the pendency of this
 2   case.
 3   DATED: March 5, 2012
 4
                                      BENJAMIN B. WAGNER
 5                                    United States Attorney
 6
                                   By: s// R. Steven Lapham
 7                                    R. STEVEN LAPHAM
                                      Assistant U.S. Attorney
 8
 9
10   DATED: March 5, 2012
11                                    s// Chris Cosca
                                      CHRIS COSCA
12                                    Counsel for Valentina Beknazarov
13
14                                     O R D E R
15        The defendant, Valentina Beknazarov is ordered to surrender her
16   passports to the Clerk's Office by March 5, 2012.        It is further
17   ordered that he shall not apply for a new passport or any travel
18   documents during the pendency of this case.
19
20   DATE:   March 6, 2012
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                                            ___________________________
24                                          KENDALL J. NEWMAN
                                            UNITED STATES MAGISTRATE JUDGE
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